                Case 3:19-cr-03222-AGS Document 8 Filed 08/23/19 PageID.19 Page 1 of 1


                                    UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA



          UNITED STATES OF AMERICA           )                   CASENUMBER_a,;.._c
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                         vs                  )                   ABSTRACT OF ORDER
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                                             )                       Booking No. _ _ _ _ _ _ _ __


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 TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
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          Be advised that under date of_ _ _ _ _--'--.,__~_    .1...
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 the Court entered the following order:




 _ _ _ _ _ _ _ Defendant be released from custody.

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       ~/- - Defendant placed on supervised /              nsupervised probatio / supervised release.

 _ _ _ _ _ _ _ Defendant continued on supervised/ unsupervised probation/ supervised release .



 _ _ _ _ _ _ _ Defendant released on $ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ bond posted.

 ----~- - - Defendant appeared in Court. FINGERPRINT & RELEASE.

 _ _ _ _ _ _ _ Defendant remanded and ( _ _ _ _ bond) ( _ _ _ _ bond on appeal) exonerated.

 _ _ _ _ _ _ _ Defendant sentenced to TIME SERVED, supervised release for _ _ _ years.

 - - - - - - - Bench Warrant Recalled.
 _ _ _ _ _ _ _ Defendant forfeited collateral.
 _ _ _ _ _ _ _ Case dismissed.

 _ _ _ _ _ _ _ Case dismissed , charges pending in case no. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 _ _ _ __ __ Defendant to be released to Pretrial Services for electronic monitoring.

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                                                                                  ANDREW G. SCHOPLER
                                                                                  U.S. MAGISTRATE JUDGE
                                                                      UNITED STATES DISTRICT           AGISTRATE JUD13E
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                                             AUG 2 6 2019                                    Deputy Clerk

 Crim-9    (Rev. 8-11)                                                                                      * U.S. GPO: 1998·783·398/40151


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